        Case 2:10-cr-00547-RFB-PAL                         Document 146                   Filed 12/07/10            Page 1 of 1
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      UNITED STATESOFAMERICA,                                )
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                                Plaintiff,                   )          CaseNo.2:10-cr-547-RLH-RJJ
9                                                            )
                    vs.                                      )          ORDER M ODIFYING BOND
l0                                                           )
      CINTHIA M ORGAN SPOONTS,                               )
11                                                           )
                                Defendant.                   )
12
13         IT IS HEREBY ORDERED thatthefollowing conditionsareadded to thetermsof
14 supervised pretrialrelease im posed by the Courton D ecem ber6,2010: The defendantshall
15 reportw eekly to PretrialServices in A laska and the defendantshallobtain no passportortravel
16 docum ents.       '



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17                     A day ofDecember,2010.
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